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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
Case No: 20-cv-06754-WHA
Case Name: Sonos, Inc. v. Google, LLC

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           PLAINTIFFS ATTORNEYS:                    DEFENSE ATTORNEYS:
 William Alsup                    Sean Sullivan, Alyssa Caridis, Dan       Sean Pak, Melissa Baily, Iman
                                  Smith, Rory Shea, Cole Richter,          Lordgooei, James Judah, Jason
                                  Clem Roberts, David Grosby, Geoff        Williams
                                  Moss
 TRIAL DATE:                      REPORTER(S):                             CLERK:
 05/16/2023                       Marla Knox                               Angella Meuleman

 PLF       DEF       DATE/TIME
 NO.       NO.       OFFERED   ID         REC DESCRIPTION                                            BY
                     7:33 a.m.                Court in session. Parties to meet and confer re: trial
                                              time assessed thus far. Further housekeeping
                                              matters discussed outside presence of jury.
                     8:02 a.m.                Jury present. Witness, James Maleckowski, on
                                              witness stand.     Cross-examination of witness
                                              continues by Melissa Baily.
           TX6016                   X     X   Google Agreement.
                     8:10 a.m.                   Re-direct examination of witness by Alyssa Caridis.
                     8:26 a.m.                   Re-cross examination of witness by Melissa Baily.
                     8:31 a.m.                   Witness thanked and excused.
                     8:32 a.m.                   Witness, Christopher Chan, by video deposition
                                                 played for jury.
 TX00128                            X     X      Spreadsheet.
 TX00130                            X     X      Spreadsheet.
 TX00138                            X     X      Spreadsheet.
 TX00139                            X     X      Spreadsheet.
                     8:54 a.m.                   Plaintiff RESTS.
                     8:54 a.m.                   Jury excused for break.
                                                 Oral Motion for Rule 50(a) by Sean Pak, made
                                                 outside presence of jury.
                     8:55 a.m.                   Court in recess.
                     9:15 a.m.                   Court reconvened. Jury present. Witness, Kenneth
                                                 MacKay, on witness stand and sworn for testimony.
                                                 Direct examination of witness by Sean Pak.
           TX6454                   X     X      Multizone Audio Design (Draft).
                     10:02 a.m.                  Cross-examination of witness by Dan Smith.
                     10:17 a.m.                  Jury excused for break. Court in recess.


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         10:28 a.m.            Court reconvened.      Jury present.     Re-cross-
                               examination of witness continues by Dan Smith.
         10:30 a.m.            Re-direct examination of witness by Sean Pak.
         10:31 a.m.            Re-cross examination of witness by Dan Smith.
         10:31 a.m.            Witness thanked and excused.
         10:39 a.m.            Witness, Tavis Alexander MacLellan, approached
                               the witness stand and sworn for testimony. Direct
                               examination of witness by Jason Williams.
         10:50 a.m.            Cross-examination of witness by Geoff Moss.
         10:51 a.m.            Witness thanked and excused.
         10:51 a.m.            Witness, Justin Pedro, approached witness stand
                               and sworn for testimony. Direct examination of
                               witness by Iman Lordgooei.
         11:10 a.m.            Cross-examination of witness by David Grosby.
         11:11 a.m.            Witness, Dan Schonfeld,Ph.D., approached the
                               witness stand and sworn for testimony. Direct
                               examination of witness by Sean Pak.
TX2426                X   X    Yamaha DME Manual.
         11:48 a.m.            Jury excused for break.
         12:02 p.m.            Court reconvened. Jury present.
TX6000                X   X    Direct examination of witness continues by Sean
                               Pak.
TX3923                X   X    Declaration of Rob Lambourne.
         12:58 p.m.            Jury admonished and excused for the day.
         12:58 p.m.            Parties request briefing made outside presence of
                               jury as further stated on the record. Court granted
                               and stated parties may each file 5 page briefs by 5pm
                               today and response due by 8pm today.
         1:04 p.m.             Court adjourned.




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